Case 4:19-cv-02033-YGR Document 296-8 Filed 09/09/22 Page 1 of 6




         EXHIBIT 15
           Case 4:19-cv-02033-YGR Document 296-8 Filed 09/09/22 Page 2 of 6



iPhone XR was the world’s best-selling smartphone in
2019, new data suggests
   9to5mac.com/2020/02/25/iphone-xr-2019-best-seller

Chance Miller                                                                February 26, 2020




Apple’s iPhone XR was the most popular smartphone in the world in 2019, according to new
data from Omdia. iPhone XR shipments were reportedly 9 million units higher than the next-
best-selling iPhone model, which was the iPhone 11.

For those unfamiliar with Omdia, the research company was established following the
“merger of the research division of Informa Tech and the acquired IHS Markit technology
research portfolio.”

According to Omdia’s Smartphone Model Market Tracker report, Apple shipped 46.3 million
iPhone XR units during 2019. That’s more than double the 23.1 million units shipped during
2018, the data indicates. Meanwhile, iPhone 11 shipments hit 37.3 million units during the
year.

While Apple accounted for first place and second place, Samsung rounded out the top 5 with
the Galaxy A10, Galaxy A50, and Galaxy A20. The iPhone 11 Pro Max was the sixth most
popular smartphone with 17.6 million shipments, followed by the iPhone 8 at 17.4 million.




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         Case 4:19-cv-02033-YGR Document 296-8 Filed 09/09/22 Page 3 of 6

Overall, Omdia estimates that Apple’s iPhone shipments were down by 4.6% percent in 2019
compared to the prior year. Despite this year-over-year decline, which Omdia attributes to
increased prices, Apple continues to rank at the top in terms of shipments:

    “Apple has consistently owned the first and second positions in the global smartphone model
    shipment ranking, with the company maintaining this dominant position for more than five
    years running,” said Jusy Hong, smartphone research and analysis director at Omdia.

    “The company’s continued dominance on this front is all the more remarkable when
    considering that Apple’s price hikes caused overall iPhone shipments to decline last year.”

You can read the full release from Omdia’s Smartphone Model Market Tracker report below.




Apple’s iPhone XR dominates smartphone model shipment ranking in 2019

Samsung’s Galaxy Note 10 Plus 5G leads the critical 5G segment

LONDON (Feb 25, 2020) — The iPhone XR was the world’s most popular smartphone in
2019, easily out-shipping all other models and extending Apple’s record of perennially
offering the market’s top-selling product.

Apple shipped 46.3 million iPhone XR smartphones last year, more than doubling the 23.1
million units in 2018, according to Omdia’s Smartphone Model Market Tracker report.
iPhone XR shipments in 2019 were 9 million units higher than the second-most popular
model, Apple’s iPhone 11, which achieved shipments of 37.3 million units for the year.

“Apple has consistently owned the first and second positions in the global smartphone model
shipment ranking, with the company maintaining this dominant position for more than five
years running,” said Jusy Hong, smartphone research and analysis director at Omdia. “The
company’s continued dominance on this front is all the more remarkable when considering


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         Case 4:19-cv-02033-YGR Document 296-8 Filed 09/09/22 Page 4 of 6

that Apple’s price hikes caused overall iPhone shipments to decline last year. By limiting the
number of models it offers compared to its top competitors, Apple has been able to
concentrate its sales on a few smartphones that have broad appeal, like the iPhone XR.”

The cheapest iPhone model released last year, the iPhone 11, was priced at $699, up $50
from $649 of iPhone 7 in 2016. The most expensive iPhone model—iPhone 11 Pro Max—was
priced at $1,449 in 2019, jumping by a huge margin from $969 for Apple’s most expensive
smartphone in 2016, the iPhone 7 Plus. As iPhone sales prices rose continuously, Apple’s
overall shipments declined for two consecutive years, dropping by 5.1 percent in 2018 and by
4.6 percent in 2019.

Samsung spreads its bets in the smartphone market

Samsung-made smartphones occupied the third through fifth ranks in 2019, with the
company’s Galaxy A10, Galaxy A50 and Galaxy A20 attaining shipments of 30.3 million, 24.2
million and 23.1 million units respectively. Samsung also took 10th place.

Four of Samsung’s models ranked among the top-10 in 2019, up from three in 2018.
However, the Galaxy S10 series, Samsung’s flagship model in 2019, did not make the top 10.
In 2018, the flagship Galaxy S9 and Galaxy S9 Plus models ranked seventh and eighth
respectively.

“Samsung’s top models in 2019 were the A-series and J-series, both of which are mid and
low-priced models,” said Gerrit Schneeman, senior analyst, smartphones for Omdia.
“Samsung in 2019 greatly increased the number of variants of its flagship model by
introducing low-priced models, along with 5G smartphones. Omdia believes that shipments
are dispersed among the variants, preventing the Galaxy S10 from attaining higher total
shipments.”

The highest ranking for a Samsung smartphone was fourth place in 2018.

Xiaomi model slips into the top-10

Just as in 2018, Apple and Samsung owned nine out of 10 models in the shipment ranking in
2019. The lone model from another brand was Xiaomi’s Redmi Note 7, which came in eighth
last year.

Xiaomi’s Note series is priced in the mid-$120 range and is sold primarily in emerging
markets such as India and Southeast Asia. The Redmi Note series attained 10 million
shipments annually in 2017 and 2018, but the volume increased significantly to 16.4 million
units in 2019. This growth was the result of Xiaomi’s expansion in the Indian market.

Samsung Galaxy Note 10 takes early 5G lead




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          Case 4:19-cv-02033-YGR Document 296-8 Filed 09/09/22 Page 5 of 6

Shipments of 5G smartphones totaled 14.7 million units in 2019. While this accounted for
just 1.1 percent of total smartphone shipments, 5G represents a fast-rising segment of the
smartphone market that’s set to become the dominant wireless standard in the coming years.

Of all 5G smartphones, Samsung’s Galaxy Note 10 Plus 5G shipped the most, with 2.6 million
units in 2019. Huawei’s Mate 30 Pro 5G came in a close second, with 2.5 million units, just
100,000 fewer than the Samsung model.

Samsung’s smartphones accounted for nearly half of all 5G smartphone shipments in 2019,
with the third through to fifth places taken by Samsung’s Galaxy Series.

In 2019, Samsung accounted for 49 percent of the global 5G smartphone market, while
Huawei ranked second with 27 percent. China’s vivo and Oppo took 12 percent and 5 percent,
respectively. As Chinese OEMs are launching a large number of mid-priced 5G phones
starting in the fourth quarter of 2019, the share of Chinese makers is expected to increase
rapidly.

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Guides


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         Case 4:19-cv-02033-YGR Document 296-8 Filed 09/09/22 Page 6 of 6




iPhone XR

iPhone XR integrates "breakthrough technologies from iPhone XS in an all-screen glass and
aluminum design with the most advanced LCD in a smartphone featuring a 6.1-inch Liquid
Retina display and six beautiful finishes," according to Apple.

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Chance is an editor for the entire 9to5 network and covers the latest Apple news for 9to5Mac.

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